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4
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5     Defendant James B. Panther, Jr.
6
                         IN THE UNITED STATES DISTRICT COURT
7
                               FOR THE DISTRICT OF ARIZONA
8

9                                                      Case No. CR-19-00448-PHX-DLR-2
     United States of America,
10
                                                       DEFENDANT’S MOTION TO
11                               Plaintiff,            CONTINUE SENTENCING
                                                       HEARING
12                 v.
13                                                     Sentencing Hearing; April 17, 2023
     James B. Panther, Jr.;                            at 3:30pm
14
                                 Defendant.
15

16

17           Defendant James B. Panther Jr. (“Mr. Panther”), by and through undersigned

18    counsel, respectfully requests that the Court continue his Sentencing Hearing, currently

19    scheduled for April 17, 2023, at 3:30p.m., for a period of thirty days. Mr. Panther further

20    requests that the Court enter an order setting the date on which the government shall

21    submit its sentencing recommendation and the date on which Mr. Panther shall submit his

22    sentencing recommendation.

23           Mr. Panther is requesting this continuance on the grounds that he needs additional

24    time to prepare for his sentencing hearing.      Mr. Panther has not yet received the

25    government’s sentencing recommendation. Mr. Panther and his counsel need to have

26    time to obtain and review this so that they properly respond to the government’s

27    sentencing recommendation and be as prepared as possible for sentencing.

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1           Additionally, undersigned counsel has spoken with United States Probation

2    Officer Corinne Underwood (“Ms. Underwood”), who has informed that there are still

3    some outstanding issues related to the restitution amount owed in this matter. Ms.

4    Underwood further informed that due to these outstanding issues, a restitution hearing

5    would need to be scheduled, as these issues would not be resolved by the current

6    sentencing date of April 17, 2023. A continuance would allow the restitution issues to

7    potentially be resolved by the next setting.

8           Therefore, and for the reasons stated above, Mr. Panther respectfully requests that

9    the Court continue the Sentencing Hearing for a period of thirty days. Mr. Panther

10   further requests that the Court enter an order setting the date in which the government

11   shall submit its sentencing recommendation and the date in which Mr. Panther shall

12   submit his sentencing recommendation.

13          This Motion is made in good faith and not for the purpose of any delay.

14          RESPECTFULLY SUBMITTED this 10th day of April 2023
15                                                      NCP Law, PLLC
                                                        3200 N. Central Avenue, Suite 2550
16                                                      Phoenix, Arizona 85012
17

18                                                      By:
                                                              Andrea S. Tazioli (#026621)
19

20                                                            Attorneys for Defendant James B.
                                                              Panther, Jr.
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     #51808.1
      Case 2:19-cr-00448-DLR Document 120 Filed 04/10/23 Page 3 of 3




1                                  CERTIFICATE OF SERVICE

2
            I certify that on the 10th day of April 2023, I electronically transmitted the
3
     foregoing document to the Office of the Clerk of the Court, using the CM/EFC System,
4
     for filing and for transmittal of a Notice of Electronic Filing to the CM/EFC registrants
5
     on record.
6
            I further certify that I sent this document via email to Assistant United States
7
     Attorney     Deborah       Brittain    Shaw       at        the     following    email   address:
8
     Brittain.Shaw@usdoj.gov.
9
            I further certify that I sent this document via email to Senior United States
10
     Probation    Officer,   Corinne       Underwood,       at     the    following   email   address:
11
     Corinne_Underwood@azd.uscourts.gov.
12

13
     /s/ Andrea S. Tazioli___
14

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